                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION

JAMES KNIGHT AND JASON MAYES,                         )
                                                      )
               Plaintiffs,                            )
                                                      )
v.                                                    )   Case No. 3:20-cv-00922
                                                      )   Judge Trauger
THE METROPOLITAN GOVERNMENT                           )
OF NASHVILLE AND DAVIDSON                             )
COUNTY,                                               )
                                                      )
               Defendant.                             )

               DEFENDANT’S NOTICE OF FILING SUPPLEMENTAL AUTHORITY

               The Metropolitan Government of Nashville and Davidson County, Tennessee hereby

gives NOTICE of supplemental authority relevant to the pending cross-motions for

summary judgment: the recently published opinion in F.P. Development, LLC v. Charter

Twp. of Canton, Mich., Case Nos. 20-1447/1466, 2021 WL 4771734 (6th Cir. Oct. 13, 2021)

(Exhibit 1).

               Plaintiffs cited the trial court ruling in F.P. Development, 456 F. Supp. 3d 879 (E.D.

Mich. 2020), in response to the Metropolitan Government’s motion for summary judgment

as one that found “an unconstitutional exaction, even though the condition was imposed

through legislation.” (Doc. No. 29 at 2-3.) The Metropolitan Government then noted in its

reply (Doc. No. 35 at 4) that the question of whether the essential nexus and rough

proportionality test prescribed in Nollan v. California Coastal Comm’n, 483 U.S. 825

(1987), and Dolan v. City of Tigard, 512 U.S. 374 (1994), applies to legislative exactions was

not litigated in F.P. Development.

               The Sixth Circuit ruled on the F.P. Development appeal on October 13, 2021. The

Court declined to address the “interesting question” of whether Nollan/Dolan governed the




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application of a tree replacement ordinance, instead applying Nollan/Dolan only because

the parties requested no other standard:

                There is an interesting question whether Canton’s application of the Tree
                Ordinance to F.P. falls into the category of government action covered by
                Nollan, Dolan, and Koontz. But the parties do not raise it. And we decline
                to do so on our own accord. So we proceed, as the parties request, and
                apply the essential nexus and rough proportionality test provided in those
                cases.

F.P. Development, 2021 WL 4771734 at *5.

               Thus, the Sixth Circuit remains silent on whether the Nollan/Dolan standard of

review applies to both adjudicative and legislative exactions.

                                                 Respectfully submitted,

                                                 THE DEPARTMENT OF LAW OF THE
                                                 METROPOLITAN GOVERNMENT OF
                                                 NASHVILLE AND DAVIDSON COUNTY
                                                 WALLACE W. DIETZ (#9949)
                                                 DIRECTOR OF LAW

                                                 /s/John W. Ayers
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been forwarded by
electronic mail and the electronic filing system to:


Meggan S. Dewitt                                Braden H. Boucek
Beacon Center                                   Kimberly S. Hermann
201 4th Ave. N., Suite 1820                     Cece O’Leary
Nashville, TN 37219                             Southeastern Legal Foundation
                                                560 West Crossville Road, Suite 104
                                                Roswell, GA 30075


on this the 19th day of October, 2021.

                                          /s/John W. Ayers
                                          John W. Ayers




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